                           IN THE UNTIED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

                                        DOCKET NO: 3:95CR5


UNTIED STATES OF AMERICA


              vs.                                                 ORDER


BERNARD DONNELL SHERILL,
Defendant,

______________________________________________________________________________________

THIS MATTER is before the Court on Defendant’s motion (Doc.# 940) for “reconsiderations” of sentence
pursuant to 18 U.S.C.§ 3582(c)(2) and the Reduced sentence based upon Amendment 782 guidelines.

Defendant’s motion was GRANTED for the reasons stated in the prior Court’s Order (Doc. # 881) and the
Presentence Investigation Report (Doc. # 880).

IT IS SO ORDERED:

                                                 Signed: February 5, 2015




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